Case 2:O4-cv-O2380-.]DB-dkv Document 23 Filed 08/08/05 Page 1 of 2 Page|D 29

 

 

IN THE UNITED sTATEs DISTRICT COURT F”£D w 9 § D'c'
FoR THE WESTERN DISTRICT oF TENNESSEE .
WESTERN DIVISION 05 AUG 3 PH 3° 53
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Ct££t<, U.€i ' i__CT COURT
DELoRIs YATES, ) \!5*3 131`-' 911
)
Plain¢iff, )
)
vs. ) CIVIL ACTION No.
) 2=04-Cv-02330-J1)B-dkv
)
CORRECTIONAL MEI)ICAL )
sERvICEs, INC., )
)
Defendant. )

 

ORDER SUBSTITUTING PLAINTIFF’S CO-COUNSEL OF RECORD

 

Upon consideration of the Motion for Substitution of Plaintiff’s Co-Counsel of Record,
praying for the substitution of Timothy D. Patterson, with Harris Shelton Hanover Walsh, PLLC,
in place of James P. Demere, as Plaintift_’s co-counsel of record, and the Coutt being satisfied
that Timothy D. Patterson is duly admitted and qualified to practice as an attorney before this
Court;

It is therefore ORDERED, ADJUDGED and DECREED that the Motion is Granted.

lt is further ORDERED, ADJUDGED and DECREED that Timothy D. Patterson is

hereby substituted for J ames P. Demere as 130-counsel to the Plaintiff.

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1T rs so 0RDEREDthis <W day Of 4¢¢6?@ ,2005.
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UNITED STATESN D`I'S`FR&€-T-GQURT JUDGE
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With Ru|e 58 and/ur 79(a) FP.CP on g q 0 ©

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 23 in
case 2:04-CV-02380 Was distributed by faX, mail, or direct printing on
August 9, 2005 to the parties listed.

 

 

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Honorable .1. Breen
US DISTRICT COURT

